             Case 1:08-cr-00124-AWI Document 455 Filed 12/18/14 Page 1 of 2

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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:08-CR-00124 AWI

12                                Plaintiff,            ORDER DENYING DEFENDANT’S MOTION
                                                        PURSUANT TO TITLE 18 U.S.C. § 3582(c)(2)
13                         v.

14   PIOQUINTO LARIOS SANTACRUZ,

15                               Defendant.

16

17          The defendant has filed a motion under 18 U.S.C. § 3582(c)(2), seeking a reduction in his

18 sentence on the basis of Amendment 782 to the Sentencing Guidelines which revises the Drug Quantity

19 Table in USSG § 2D1.1 and reduces by two levels the offense level applicable to many drug trafficking

20 offenses. The Government has opposed the motion on the basis that the defendant is not eligible for a

21 reduction under U.S.S.G. § 1B1.10. The Court hereby denies the motion.

22          Section 3582(c)(2) authorizes district courts to modify an imposed sentence “in the case of a

23 defendant who has been sentenced to a term of imprisonment based on a sentencing range that has

24 subsequently been lowered by the Sentencing Commission.” United States v. Dunn, 728 F.3d 1151,

25 1155 (9th Cir. 2013). Effective November 1, 2014, the Commission promulgated Amendment 782,

26 which generally revised the Drug Quantity Table and chemical quantity tables across drug and chemical
27 types. The Commission also voted to make Amendment 782 retroactively applicable to previously

28 sentenced defendants.

      ORDER DENYING DEFENDANT’S MOTION TO REDUCE
      SENTENCE                                          1
             Case 1:08-cr-00124-AWI Document 455 Filed 12/18/14 Page 2 of 2

 1          Section 1B1.10(b)(2) provides:

 2                   Except as provided in subdivision (B), the court shall not reduce the defendant’s
            term of imprisonment under 18 U.S.C. § 3582(c)(2) and this policy statement to a term
 3          that is less than the minimum of the amended guideline range determined under
            subdivision (1) of this subsection.
 4

 5 While in the defendant’s case the amended sentencing range is lower than the original sentencing range,

 6 the defendant’s original sentence is the same as the bottom of the amended guideline range. Therefore,

 7 because the defendant previously received a downward variance of his sentence to a term of 188

 8 months, the Court is without authority to reduce the sentence further.

 9          The defendant’s motion pursuant to Section 3582 is hereby denied.

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     IT IS SO ORDERED.
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12 Dated: December 18, 2014
                                                 SENIOR DISTRICT JUDGE
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      ORDER DENYING DEFENDANT’S MOTION TO REDUCE
      SENTENCE                                           2
